            Case 2:15-cr-00202-JCC         Document 308        Filed 03/13/17     Page 1 of 1




                                                     THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                                UNITED STATES DISTRICT COURT
 7                             WESTERN DISTRICT OF WASHINGTON
                                         AT SEATTLE
 8

 9          UNITED STATES OF AMERICA,                         CASE NO. CR15-0202-JCC
10                                Plaintiff,
                                                              MINUTE ORDER
11                 v.

12          GUSTAVO GARCIA-VALENCIA,
13                                Defendant.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.

16 Coughenour, United States District Judge:

17          This matter comes before the Court on Defendant Gustavo Garcia-Valencia’s unopposed

18 motion to seal his sentencing memorandum (Dkt. No. 301). Given the sensitive information
19 contained in the filing, the Court finds good cause to seal. The motion to seal (Dkt. No. 301) is

20 GRANTED. Docket Number 302 shall REMAIN sealed.

21          DATED this 13th day of March 2017.

22                                                         William M. McCool
                                                           Clerk of Court
23
                                                           s/Paula McNabb
24                                                         Deputy Clerk
25

26



     MINUTE ORDER, CR15-0202-JCC
     PAGE - 1
